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                             UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE
LUC JOHN GAGNON,                             )
                                             )
                Plaintiff                    )
                                             )
       v.                                    )       1:16-cv-00024-NT
                                             )
AMANDA SEIRUP,                               )
                                             )
                Defendant                    )


                         RECOMMENDED DECISION ON
             DEFENDANT AMANDA SEIRUP’S SECOND MOTION TO DISMISS

       In this action, Plaintiff Luc Gagnon, an inmate at the Maine State Prison, alleges that

Defendant Amanda Seirup, Ph.D., denied him necessary treatment regarding his mental health

condition.

       The matter is before the Court on Defendant Seirup’s Second Motion to Dismiss. (ECF

No. 14.) Through her motion, Defendant contends dismissal of Plaintiff’s civil rights claim, the

only claim that remains pending against Defendant, is warranted because Plaintiff has not alleged

facts that could plausibly support a finding that he exhausted his administrative remedies or that

Plaintiff was denied treatment for a serious medical need. Plaintiff has not filed an opposition to

the motion.

       Following a review of the pleadings and the record, I recommend the Court grant the

motion to dismiss based on Plaintiff’s failure to exhaust administrative remedies, and dismiss

Plaintiff’s complaint without prejudice.

                                    Procedural Background

       In her initial motion to dismiss (ECF No. 10), Defendant argued that Plaintiff’s complaint

constituted a claim for medical malpractice, and that the claim was subject to dismissal because
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Plaintiff had failed to comply with the requirements of the Maine Health Security Act, 24 M.R.S.

§ 2851, et seq. Defendant, however, did not address in the motion any potential federal claim. In

a recommended decision, I recommended the Court grant Plaintiff’s motion as to the medical

malpractice claim, but deny the motion as to any possible federal claim. The Court adopted the

recommendation. (ECF No. 16.) Defendant now seeks dismissal of the federal claim.

                                                       Facts

         In his complaint, Plaintiff alleges that a mental health worker1 told Plaintiff he did not have

time for Plaintiff when Plaintiff reported suicidal ideation, and that Plaintiff attempted to commit

suicide later that day. Plaintiff asserts that Defendant, whom Plaintiff describes as a doctor, failed

to provide him with his necessary medication because Plaintiff reported that he intended to pursue

legal action against the mental health worker.

         Plaintiff asserts he suffered from suicidal ideation based on anxiety and mental stress. In

addition to his report of suicidal ideation and attempted suicide, Plaintiff alleges that he later

informed Defendant that he did not know if he could “take it any longer.” (ECF No. 1-3, PageID

# 8.) According to Plaintiff, he also requested an adjustment in his medication in order to

concentrate in class, to which request Defendant allegedly responded, “Why should I help you get

on meds, you’re putting a lawsuit on [the mental health worker]?” (Id.) Plaintiff asserts that as

the result of this encounter, his anxiety has worsened because he does not believe he will receive

any mental health treatment.

                                                    Discussion

         Defendant argues that dismissal is appropriate because (1) Plaintiff’s allegations

demonstrate that he did not exhaust his administrative remedies; (2) Plaintiff’s allegations


1
 Plaintiff identified the mental health worker as Bert Rand Gosselin, whom Plaintiff joined as a party to this action.
The Court dismissed Defendant Gosselin as party on July 21, 2016. (ECF No. 18.)

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regarding his medical need do not describe an objectively serious condition because they merely

concern Plaintiff’s ability to concentrate during class; and (3) Defendant’s failure to prescribe

medication “is of no practical consequence” because she is a doctor of psychology and she is not

licensed to prescribe medication. (Motion to Dismiss at 3 – 4, 6 – 8.)

           Defendant’s substantive arguments for dismissal (i.e., that Plaintiff has failed to allege a

serious medical need and that the failure to prescribe medication is inconsequential) are

unpersuasive at this stage of the proceedings. Contrary to Defendant’s contention, the medical

need is not limited to Plaintiff’s desire to concentrate better in class. Plaintiff has described a

mental health issue (suicidal ideation) that is unquestionably serious. In addition, Defendant’s

causation argument requires a factual record and thus cannot be resolved on a motion to dismiss.

Plaintiff, therefore, has alleged facts that could plausibly support a finding of deliberate

indifference to a serious medical need. Martin v. Somerset Cty., 387 F. Supp. 2d 65, 67 (D. Me.

2005); Pelletier v. Magnusson, 195 F. Supp. 2d 214, 231 (D. Me. 2002); Sanville v. McCaughtry,

266 F.3d 724, 740 (7th Cir. 2001).

           Insofar as Plaintiff has alleged Defendant refused to provide medication because Plaintiff

expressed an intention to file a claim against the mental health worker, Plaintiff has alleged facts

from which one could conclude that a prisoner of ordinary firmness would be chilled in the exercise

of the prisoner’s right to petition government in redress of grievances if he needed mental health

care and his prison provider stated the intention to withhold such care.2 Ayotte v. Barnhart, 973

F. Supp. 2d 70, 94 (D. Me. 2013) (retaliation claim requires (1) that the inmate engaged in conduct

that is protected by the First Amendment; (2) that a defendant took adverse action against the




2
    Plaintiff in fact stated his fear of retaliation in the grievance form he submitted on January 4, 2016. (ECF No. 1-4.)

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inmate because of the prisoner’s protected conduct; and (3) that the adverse action would deter an

inmate of ordinary firmness from exercising his or her First Amendment rights).

       Defendant’s exhaustion argument requires more discussion.           Federal law requires a

prisoner to exhaust the available administrative remedies before initiating a lawsuit based on 42

U.S.C. § 1983. Specifically, the Prison Litigation Reform Act provides: “[n]o action shall be

brought with respect to prison conditions under section 1983 of this title, or any other Federal law,

by a prisoner confined in any jail, prison, or other correctional facility until such administrative

remedies as are available are exhausted.” 42 U.S.C. § 1997e(a); see also Jones v. Bock, 549 U.S.

199, 211 (2007) (“There is no question that exhaustion is mandatory under the PLRA and that

unexhausted claims cannot be brought in court.”); Booth v. Churner, 532 U.S. 731, 734 (2001)

(affirming dismissal of action without prejudice based on prisoner’s failure to completely exhaust

available process even though the relief he sought was unavailable in that process).

         Because the PLRA makes exhaustion a precondition to filing suit and not merely a

precondition to an award of judicial remedies, a claim regarding prison conditions cannot proceed

if it is filed before the plaintiff exhausts available administrative remedies. Perez v. Wisconsin

Dep’t of Corr., 182 F.3d 532, 534 (7th Cir. 1999); see also Ruppert v. Aragon, 448 Fed. App’x

862, 863 (10th Cir. 2012) (“Since the PLRA makes exhaustion a precondition to filing a suit, an

action brought before administrative remedies are exhausted must be dismissed without regard to

concern for judicial efficiency.”)

         “[F]ailure to exhaust is an affirmative defense under the PLRA, and … inmates are not

required to specially plead or demonstrate exhaustion in their complaints.” Jones, 549 U.S. at 216.

As an affirmative defense, failure to exhaust may be waived by a defendant who fails to establish

the defense. Casanova v. Dubois, 304 F.3d 75, 77 n.3 (1st Cir. 2002) (citing Wendell v. Asher,

162 F.3d 887, 890 (5th Cir. 1998) (“Rather, the amended statute imposes a requirement [of

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exhaustion], rather like a statute of limitations, that may be subject to certain defenses such as

waiver, estoppel, or equitable tolling.”)).

       Defendant contends the Court should dismiss Plaintiff’s complaint because the pleadings

lack any evidence that Plaintiff exhausted the available administrative remedies before he

commenced this action. Defendant notes that the only administrative proceeding reflected by

Plaintiff’s complaint involved the mental health worker whom Plaintiff joined as a defendant in

this case. (Motion to Dismiss at 2: “No grievance form concerning Dr. Seirup’s alleged conduct

on December 10, 2015 was submitted to the Court.”) Plaintiff, however, is not required in his

pleading to assert or demonstrate that he exhausted his administrative remedies. Jones, 549 U.S.

at 216. Nevertheless, a review the pleadings to assess the merit of Defendant’s exhaustion defense

is appropriate.

       In support of his complaint, Plaintiff filed several attachments. Plaintiff attached a form

that reflects he filed a grievance against the mental health worker, former defendant Gosselin.

(ECF No. 1-4.) He did not include a similar grievance form regarding Defendant. In addition,

Plaintiff filed a “note” in which he wrote: “I’m waiting on the grievance procedure to finish on

Amanda Seirup. Also another on Bert Gosselin.” (ECF No. 1-6.) Although Plaintiff’s filing

includes a notice of dismissal of his grievance (ECF No. 1-5), given the date of the notice (January

7, 2016), and given the January 6, 2016, conclusion of the staff member who attempted to resolve

the grievance Plaintiff filed against Mr. Gosselin (ECF No. 1-6, “Please be advised that continued

submission of false statements will not be tolerated. Continued miss use [sic] of grievance form

and process will not be tolerated”), and given the date of the note on which Plaintiff acknowledged

he was awaiting the conclusion of his grievance against Defendant (January 14 – i.e., 7 days after

the notice of dismissal), one can reasonably infer the notice of dismissal was in response to the



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grievance he filed against Mr. Gosselin on January 4, 2016. The pleadings lack any similar

evidence that the grievance Plaintiff maintains he initiated against Defendant has concluded.

        Ordinarily, resolution of an exhaustion defense would require a summary judgment record.

In this case, however, Plaintiff’s own words on a note signed on the same date as Plaintiff’s

complaint acknowledge that when he filed the complaint, he had not exhausted his administrative

remedies regarding his claim against Defendant. The record, therefore, supports Defendant’s

request for dismissal. In fact, Plaintiff’s lack of objection to Defendant’s motion to dismiss based

on Plaintiff’s failure to exhaust may be deemed a waiver of objection to the argument and thus

provides further support for Defendant’s request for dismissal. D. Me. Loc. R. 7(b)3; ITI Holdings,

Inc. v. Odom, 468 F.3d 17, 18 (1st Cir. 2006) (affirming dismissal based on failure to object to

motion to dismiss under Rule 12(b)(6)); NEPSK, Inc. v. Town of Houlton, 283 F.3d 1, 9 (1st Cir.

2002) (affirming dismissal based on failure to object to motion to dismiss under Rule 12(c)).

                                                   Conclusion

        Based on the foregoing analysis, I recommend the Court grant Defendant Seirup’s Second

Motion to Dismiss (ECF No. 14), and dismiss without prejudice Plaintiff’s complaint.

                                                    NOTICE

                A party may file objections to those specified portions of a magistrate
        judge’s report or proposed findings or recommended decisions entered pursuant to
        28 U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
        together with a supporting memorandum, within fourteen (14) days of being served
        with a copy thereof. A responsive memorandum shall be filed within fourteen (14)
        days after the filing of the objection.

               Failure to file a timely objection shall constitute a waiver of the right to de
        novo review by the district court and to appeal the district court’s order.

                                                     /s/ John C. Nivison
               th
Dated this 19 day of September, 2016                 U.S. Magistrate Judge

3
 Local Rule 7(b) provides that “[u]nless within 21 days after the filing of a motion the opposing party files written
objection thereto, incorporating a memorandum of law, the opposing party shall be deemed to have waived objection.”

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